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                                     U N IT ED STAT ES D ISTR ICT CO URT
                                            DISTRICT OF NEVADA

         UNITED STATESOF AM ERICA,                        )
                                                          )
                               Plaintiff,                 )
                                                          )
                                                          )             2:10-CR-365-JCM (PAL)
                                                          )
         EHAB LEONE,                                      )
                                                          )
                               Defendant.                 )


                                       FINAL ORDER OF FORFEITURE
                 On July 25,2011,the United States DistrictCourtfor the DistrictofNevada entered a

         PreliminaryOrderofForfeiturepursuanttoFed.R.Crim .P,32.2(b)(1)and(2);Title2l,UnitedStates
         Code,Section853(a)(1)and852(a)(2);Title21sUnitedStatesCode,Section881(a)(l1)arldTitle28,
         UnitedStatesCode,Section2641(c);andTitle18,UnitedStatesCode,Sections924(d)(l),(2)(C),and
         (3)(B)andTitle28,UnitedStatesCode,Section2461(c),baseduponthepleaofguiltybydefendant
         EHAB LEONE to criminaloffenses,forfeiting specificproperty alleged in the CriminalIndictment
         and shownbytheUnited Statesto havetherequisitenexustotheoffensesto whichdefendantEHAB
         LEONE pled guilty.Docket $16,//107.
                 This Courtfinds the United States ofAmerica published the notice of the forfeiture in
         accordance w ith the law via the ofticialgovernm ent internet forfeiture site, w wm forfeiture.gov,
         consecutivelyfrom July29,201l,through August27,2011,notifyinga11thirdpartiesoftheirrightto
         petition the Coull.//115.
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      1           ThisCourttlndsno petition wasfiledherein by oronbehalfofany persen orentityat
                                                                                              'id the
      2 tim e forfiling such petitionsatld claim s has expired.
      3           ThisCourtGndsnopetitionsarependingwith regardtotheassetsnamedhereinandthetim e
      4 forpresenting such petitionshasexpired.                                                             .
      5           THEREFORE,IT IS HEREBY ORDERED,ADJUDGED,AND DECREED thatallright,
      6 titlesand interestin the property hereinafterdescribed is condem ned,forfeited, and vested in the
      7 U nited States of A m erica purstmnt to Fed,R.Crim .P.32.2(b)(4)(A)and (B);Fed.R,Crim.P.

      8 32,2(c)(2);Title21,United StatesCode,Sections853(a)(1)and 852(a)(2);Title21,United States
      9 Code,Section881(a)(11)andTitle28,UnitedStatesCode,Section2641(c))Title 18,UnitcdStates
     10 Code,Sections924(d)(1),(2)(C),and(3)(B)andTitle28,United StatesCode,Section2461(c);and
     11 Title21,United StatesCode,Section 853(n)(7)and shallbedisposed ofaccordingtolaw:
     12           a)     $171,600inUnited StatesCurrency;
     13           b)    a 2008 Black Chevy Suburban bearing Nevada license plate:YODADY,VlN :
     14                  1GN FC 16008R 143172;

     15           c)     aGlockmodelz3,.40calibersemi-automatichandgunbearingserialnumberKlTlog;
     16           d)    aSigSauermodelP229,.40calibersemi-automatichandgunbearingserialnumber
     17                 A G 23046)and

     18           e)    anyandallammunition.
     19           IT IS FURTHER ORDERTD ,ADJUDOED,AN D DECREED thatany and a1lforfeited
     20 funds,including butnotlimited to,çurrency,currency equivalents,certificatesofdeposit, as well
     21 asany incom ederived asaresultofthe United StatesofAm erica'sm anagementofanyproperty
     22 forfeited herein,and 1heproceeds from the sale ofany forfeited property shallbe disposed of
     23 accordingto law.
     24 ...
     25 ...
     26 ...




                                                         2
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 l          TheClerk ishereby directed to send copiesofthisOrderto a11counselofrecord and three
 2 certified copiesto the Un'ted t esAttorney'sOffie.
 3          DATED this             day of           = * ,2012.
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